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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 M.C., individually and on behalf of all      )
 similarly situated persons,                  )
                                              )
                       Plaintiff,             )
                                              )       Case No.       3:24-cv-01336NJR
 v.                                           )
                                              )
 EAST SIDE HEALTH DISTRICT and                )
 ELIZABETH PATTON-WHITESIDE,                  )
                                              )
                       Defendants.            )

                              MOTION FOR ORAL ARGUMENT

        Pursuant to Rule 11.1(b) of the Rules of Procedure, Plaintiff M.C., individually and on

 behalf of all similarly situated persons respectfully submits this request that oral argument be

 heard on Defendants’ pending Motion to Dismiss. The issues of the litigation are such that oral

 argument will benefit the Court in its deliberations and ultimate decision-making role. As there is

 disagreement between the parties as to Defendants’ Motion to Dismiss and raises issues that are

 particularly appropriate for argument. Defendants have been contacted regarding the request for

 the Oral Argument and have no opposition to the same.

          WHEREFORE, Plaintiff M.C individually and on behalf of all others similarly

  situated, respectfully requests that this Court Order to hear Oral Arguments on Defendants’

  Motion to Dismiss.




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                                           Respectfully submitted,

                                           /s/ Gary M. Klinger___________________
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                                CERTIFICATE OF SERVICE


        I hereby certify that a copy of the above and foregoing was served via ECF, mailed,
 emailed, and/or faxed this 12th day of December 2024 to:

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 District and Elizabeth Patton-Whiteside




                                                   Attorney for Plaintiff




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